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Proposed Counsel for the Official Committee
of Unsecured Creditors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

-------------------------------------- X
                                       :
In re:                                                       Chapter 11
                                       :
REPUBLIC METALS REFINING                                     Case No. 18-13359 (SHL)
CORPORATION, et al.,1                  :
                                                              (Jointly Administered)
                 Debtors,                                :

                                       :
-------------------------------------- X

                        NOTICE OF APPEARANCE AND REQUEST FOR
                         SERVICE OF ALL NOTICES AND PLEADINGS

        PLEASE TAKE NOTICE that the Official Committee of Unsecured Creditors (the

“Committee”), by and through its proposed counsel, Cooley LLP, hereby appears in the above-

captioned cases pursuant to 11 U.S.C. §§ 342(a) and 1109(b) (the “Bankruptcy Code”) and Rules

2002, 3017, 9007 and 9010(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”) and hereby requests that copies of all notices and pleadings given, required to be given or

filed in the above-captioned cases be given and served upon:


1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New
York, NY 10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378), and
Republic Carbon Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833).
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                                  smckee@cooley.com


       PLEASE TAKE FURTHER NOTICE that pursuant to 1109(b) of the Bankruptcy Code,

the foregoing demand includes not only the notices and papers referred to in the Bankruptcy Rules

specified above, but also includes, without limitation, any order and notice of any application,

motion, petition, pleading, request, complaint or demand, whether former or informal, whether

written or oral, and whether transmitted or conveyed by mail, delivery, telephone, telegraph, telex,

overnight carrier, facsimile transmission, email or otherwise filed or made with regard to the

above-captioned cases and proceedings therein.

       PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance nor any

later appearance, pleadings, claim or suit shall be deemed or construed to be a waiver of the rights

of the Committee: (1) to have final orders in noncore matters entered only after de novo review by

a District Judge; (2) to trial by jury in any proceeding so triable in these cases or any case,

controversy, or proceeding related to these cases; (3) to have the District Court withdraw the

reference in any matter subject to mandatory or discretionary withdrawal; or (4) of any other rights,

claims, actions, defenses, setoffs, or recoupments to which the Committee is or may be entitled




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under agreements, in law, in equity, or otherwise, all of which rights, claims, actions, defenses,

setoffs, and recoupments are expressly reserved.


Dated: New York, NY                                COOLEY LLP
       November 21, 2018
                                                   By: /s/ Seth Van Aalten
                                                       Seth Van Aalten
                                                       Robert Winning
                                                       1114 Avenue of the Americas
                                                       New York, NY 10036
                                                       Telephone: (212) 479-6000

                                                       Proposed Counsel for the Official
                                                       Committee of Unsecured Creditors




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                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing Notice of Appearance was served by CM/ECF and/or

mail on anyone unable to accept electronic filing. Notice of this filing will be sent by email to all

parties by operation of the Court’s electronic filing system or by email to anyone unable to accept

electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing

through the Court’s CM/ECF System.



                                                      /s/ Seth Van Aalten
                                                      Seth Van Aalten




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